       Case 1:24-cv-02535-ACR            Document 5       Filed 12/09/24      Page 1 of 21




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 Dinesh Patel                                       Case No.: 1:24-cv-02535

                       Plaintiff,                   Judge Ana C. Reyes

                v.

 Georgetown Software House, Inc.                    ANSWER

                        Defendant.



       Defendant, Georgetown Software House, Inc (“Defendant”), by and through its

undersigned counsel, hereby answer Plaintiff Dinesh Patel’s (“Plaintiff”) Complaint against

Defendant and assert affirmative defenses hereto:

                                        INTRODUCTION

       1.       In answering paragraph 1, Defendant denies the allegations contained therein.

       2.       In answering paragraph 2, Defendant states that it has insufficient knowledge or

                information to form a belief as to the allegations contained therein, and therefore

                denies same.

       3.       In answering paragraph 3, Defendant states that it has insufficient knowledge or

                information to form a belief as to the allegations contained therein, and therefore

                denies same.

       4.       In answering paragraph 4, Defendant states that it has insufficient knowledge or

                information to form a belief as to the allegations contained therein, and therefore

                denies same.

       5.       In answering paragraph 5, Defendant denies the allegations contained therein.

       6.       In answering paragraph 6, Defendant denies the allegations contained therein.
      Case 1:24-cv-02535-ACR         Document 5       Filed 12/09/24      Page 2 of 21




      7.    In answering paragraph 7, Defendant denies the allegations contained therein.

                             JURISDICTION AND VENUE

      8.    In answering paragraph 8, Defendant admits the allegations contained therein.

      9.    In answering paragraph 9, Defendant states that it has insufficient knowledge or

            information to form a belief as to the allegations contained therein, and therefore

            denies same.

      10.   In answering paragraph 10, Defendant admits the allegations contained therein.

                                         PARTIES

      11.   In answering paragraph 11, Defendant states that it has insufficient knowledge or

            information to form a belief as to the allegations contained therein, and therefore

            denies same

      12.   In answering paragraph 12, Defendant admits the allegations contained therein.

                              FACTUAL BACKGROUND

Plaintiff And His PEBBLES® Mark

      13.   In answering paragraph 13, Defendant states that it has insufficient knowledge or

            information to form a belief as to the allegations contained therein, and therefore

            denies same.

      14.   In answering paragraph 14, Defendant states that it has insufficient knowledge or

            information to form a belief as to the allegations contained therein, and therefore

            denies same.

      15.   In answering paragraph 15, Defendant states that it has insufficient knowledge or

            information to form a belief as to the allegations contained therein, and therefore

            denies same.



                                              2
Case 1:24-cv-02535-ACR         Document 5       Filed 12/09/24      Page 3 of 21




16.   In answering paragraph 16, Defendant states that it has insufficient knowledge or

      information to form a belief as to the allegations contained therein, and therefore

      denies same.

17.   In answering paragraph 17, Defendant states that it has insufficient knowledge or

      information to form a belief as to the allegations contained therein, and therefore

      denies same.

18.   In answering paragraph 18, Defendant states that it has insufficient knowledge or

      information to form a belief as to the allegations contained therein, and therefore

      denies same.

19.   In answering paragraph 19 and upon information and belief, Defendant admits the

      allegations contained therein.

20.   In answering paragraph 20 and upon information and belief, Defendant admits the

      allegations contained therein.

21.   In answering paragraph 21 and upon information and belief, Defendant admits the

      allegations contained therein.

22.   In answering paragraph 22 and upon information and belief, Defendant states that

      the document speaks for itself.

23.   In answering paragraph 23 and upon information and belief, Defendant admits the

      allegations contained therein.

24.   In answering paragraph 24 and upon information and belief, Defendant denies the

      allegations contained therein.

25.   In answering paragraph 25 and upon information and belief, Defendant admits the

      allegations contained therein.



                                        3
Case 1:24-cv-02535-ACR         Document 5       Filed 12/09/24      Page 4 of 21




26.   In answering paragraph 26 and upon information and belief, Defendant denies the

      allegations contained therein.

27.   In answering paragraph 27 and upon information and belief, Defendant admits the

      allegations contained therein.

28.   In answering paragraph 28 and upon information and belief, Defendant admits the

      allegations contained therein.

29.   In answering paragraph 29 and upon information and belief, Defendant admits the

      allegations contained therein.

30.   In answering paragraph 30 and upon information and belief, Defendant admits the

      allegations contained therein.

31.   In answering paragraph 31 and upon information and belief, Defendant admits the

      allegations contained therein.

32.   In answering paragraph 32 and upon information and belief, Defendant admits the

      allegations contained therein.

33.   In answering paragraph 33 and upon information and belief, Defendant admits the

      allegations contained therein.

34.   In answering paragraph 34 and upon information and belief, Defendant admits the

      allegations contained therein.

35.   In answering paragraph 35, Defendant states that it has insufficient knowledge or

      information to form a belief as to the allegations contained therein, and therefore

      denies same.




                                        4
      Case 1:24-cv-02535-ACR          Document 5        Filed 12/09/24      Page 5 of 21




      36.    In answering paragraph 36, Defendant states that it has insufficient knowledge or

             information to form a belief as to the allegations contained therein, and therefore

             denies same.

      37.    In answering paragraph 37, Defendant states that it has insufficient knowledge or

             information to form a belief as to the allegations contained therein, and therefore

             denies same.

      38.    In answering paragraph 38, Defendant states that it has insufficient knowledge or

             information to form a belief as to the allegations contained therein, and therefore

             denies same.

Plaintiff's Software Development Goods and Services, Including Ready-To-Run Function
Modules

      39.    In answering paragraph 39, Defendant denies that this site appears to show any

             information related to Plaintiff’s business; as to the remaining allegations of

             paragraph 39, Defendant states that it has insufficient knowledge or information

             to form a belief as to the allegations contained therein, and therefore denies same.

      40.    In answering paragraph 40, Defendant denies that this site appears to show any

             information related to Plaintiff’s business; as to the remaining allegations of

             paragraph 40, Defendant states that it has insufficient knowledge or information

             to form a belief as to the allegations contained therein, and therefore denies same.

      41.    In answering paragraph 41, Defendant denies that this site appears to show any

             information related to Plaintiff’s business; as to the remaining allegations of

             paragraph 41, Defendant states that it has insufficient knowledge or information

             to form a belief as to the allegations contained therein, and therefore denies same.




                                               5
      Case 1:24-cv-02535-ACR          Document 5        Filed 12/09/24      Page 6 of 21




      42.    In answering paragraph 42, Defendant denies that this site appears to show any

             information related to Plaintiff’s business; as to the remaining allegations of

             paragraph 42, Defendant states that it has insufficient knowledge or information

             to form a belief as to the allegations contained therein, and therefore denies same.

      43.    In answering paragraph 43, Defendant denies that this site appears to show any

             information related to Plaintiff; as to the remaining allegations of paragraph 43,

             Defendant states that it has insufficient knowledge or information to form a belief

             as to the allegations contained therein, and therefore denies same.

      44.    In answering paragraph 44, Defendant denies that this site appears to show any

             information related to Plaintiff; as to the remaining allegations of paragraph 44,

             Defendant states that it has insufficient knowledge or information to form a belief

             as to the allegations contained therein, and therefore denies same.

      45.    In answering paragraph 45, Defendant denies that this site appears to show any

             information related to Plaintiff; as to the remaining allegations of paragraph 45,

             Defendant states that it has insufficient knowledge or information to form a belief

             as to the allegations contained therein, and therefore denies same.

Plaintiffs Automation And Automated Testing Goods and Services

      46.    In answering paragraph 46, Defendant denies that this site appears to show any

             information related to Plaintiff; as to the remaining allegations of paragraph 46,

             Defendant states that it has insufficient knowledge or information to form a belief

             as to the allegations contained therein, and therefore denies same.

      47.    In answering paragraph 47, Defendant denies that this site appears to show any

             information related to Plaintiff; as to the remaining allegations of paragraph 47,



                                               6
      Case 1:24-cv-02535-ACR          Document 5       Filed 12/09/24      Page 7 of 21




             Defendant states that it has insufficient knowledge or information to form a belief

             as to the allegations contained therein, and therefore denies same.

Plaintiff's Pebbles® API

      48.    In answering paragraph 48, Defendant states that it has insufficient knowledge or

             information to form a belief as to the allegations contained therein, and therefore

             denies same.

      49.    In answering paragraph 49, Defendant denies Plaintiff’s claim that any of its

             marks is infringing of any marks of Plaintiff, Defendant denies that this site

             appears to show any information related to Plaintiff; as to the remaining

             allegations of paragraph 49, Defendant states that it has insufficient knowledge or

             information to form a belief as to the allegations contained therein, and therefore

             denies same.

Plaintiff's Pebbles® Software And SAAS Incorporating Use Of Spreadsheets

      50.     In answering paragraph 50, Defendant denies Plaintiff’s claim that any of its

             marks is infringing of any marks of Plaintiff, Defendant denies that this site

             appears to show any information related to Plaintiff; as to the remaining

             allegations of paragraph 50, Defendant states that it has insufficient knowledge or

             information to form a belief as to the allegations contained therein, and therefore

             denies same.

      51.    In answering paragraph 51, Defendant denies Plaintiff’s claim that any of its

             marks is infringing of any marks of Plaintiff, Defendant denies that this site

             appears to show any information related to Plaintiff; as to the remaining

             allegations of paragraph 51, Defendant states that it has insufficient knowledge or



                                               7
      Case 1:24-cv-02535-ACR         Document 5       Filed 12/09/24      Page 8 of 21




            information to form a belief as to the allegations contained therein, and therefore

            denies same.

Defendant's Trademark Applications

      52.   In answering paragraph 52, Defendant admits the allegations contained therein.

      53.   In answering paragraph 53, Defendant admits the allegations contained therein.

      54.   In answering paragraph 54, Defendant denies the allegations contained therein.

      55.   In answering paragraph 55, Defendant states that its alleged first use date of the

            “PEBBLE STREAM” mark is as at least as early as June 18, 2019 on Class 9 and

            Class 42 goods and services.

      56.   In answering paragraph 56, Defendant states that its alleged first use date of the

            “PEBBLE STREAM” mark in United States commerce is as at least as early as

            August 16, 2019 on Class 9 and Class 42 goods and services.

      57.   In answering paragraph 57, Defendant admits the allegations contained therein.

      58.   In answering paragraph 58, Defendant denies Plaintiff’s claim that any of its

            marks are infringing of any marks of Plaintiff, states that it uses its PEBBLE

            STREAM mark on a spreadsheet programming language and a software platform

            that exercises such spreadsheet programming language, and denies the remaining

            allegations contained therein.

      59.   In answering paragraph 59, Defendant admits the allegations contained therein.

      60.   In answering paragraph 60, Defendant admits the allegations contained therein.

      61.   In answering paragraph 61, Defendant states that it has insufficient knowledge or

            information to form a belief as to the allegations contained therein, and therefore

            denies same.



                                              8
      Case 1:24-cv-02535-ACR          Document 5        Filed 12/09/24      Page 9 of 21




      62.    In answering paragraph 62, Defendant admits the allegations contained therein.

      63.    In answering paragraph 63, Defendant states that the term Plaintiff’s PEBBLES

             branded goods and services is vague and ambiguous, and denies the allegations

             contained therein.

      64.    In answering paragraph 64, Defendant states that the term Plaintiff’s PEBBLES

             branded goods and services is vague and ambiguous, and denies the allegations

             contained therein.

      65.    In answering paragraph 65, Defendant denies the allegations contained therein.

      66.    In answering paragraph 66, Defendant denies the allegations contained therein.

      67.    In answering paragraph 67, Defendant denies the allegations contained therein.

Plaintiff's Cease And Desist Letter To Defendant

      68.    In answering paragraph 68, Defendant states that the term Plaintiff’s PEBBLES

             branded goods and services is vague and ambiguous, and denies the allegations

             contained therein.

      69.    In answering paragraph 69, Defendant states that it has insufficient knowledge or

             information to form a belief as to the allegations contained therein relating to

             Plaintiff’s first learning of Defendant’s ‘703 Application and any date of mailing

             by USPS Certified Mail, and therefore denies same, and admits that Plaintiff sent

             a cease-and-desist letter to Defendant via email on September 6, 2023.

      70.    In answering paragraph 70, Defendant admits the allegations contained therein.

      71.    In answering paragraph 71, Defendant admits the allegations contained therein.

      72.    In answering paragraph 72, Defendant states that the document speaks for itself,

             and denies the claims of the document.



                                               9
      Case 1:24-cv-02535-ACR         Document 5       Filed 12/09/24      Page 10 of 21




      73.    In answering paragraph 73, Defendant states that the document speaks for itself,

             and denies the claims of the document.

      74.    In answering paragraph 74, Defendant states that the document speaks for itself,

             and denies the claims of the document.

      75.    In answering paragraph 75, Defendant states that it notified Plaintiff on

             September 20, 2023 that it would investigate the claims of the Cease-And-Desist

             Letter and would respond in due course, and denies the remaining allegations

             contained therein.

Plaintiffs Trademark Opposition Proceeding against Defendant

      76.    In answering paragraph 76, Defendant admits the allegations contained therein.

      77.    In answering paragraph 77, Defendant admits the allegations contained therein.

      78.    In answering paragraph 78, Defendant states that the document speaks for itself,

             and denies the claims of the document.

      79.    In answering paragraph 79, Defendant admits the allegations contained therein.

      80.    In answering paragraph 80, Defendant admits the allegations contained therein.

      81.    In answering paragraph 81, Defendant admits the allegations contained therein.

      82.    In answering paragraph 82, Defendant admits the allegations contained therein.

      83.    In answering paragraph 83, Defendant admits the allegations contained therein.

      84.    In answering paragraph 84, Defendant denies the allegations contained therein.

      85.    In answering paragraph 85, Defendant denies the allegations contained therein.

      86.    In answering paragraph 86, Defendant admits the allegations contained therein.

      87.    In answering paragraph 87, Defendant denies the allegations contained therein.




                                              10
      Case 1:24-cv-02535-ACR          Document 5       Filed 12/09/24      Page 11 of 21




       88.    In answering paragraph 88, Defendant denies Plaintiff’s claim that any of its

              marks are infringing of any marks of Plaintiff, and states that none of its marks

              have been registered by the USPTO.

Plaintiff's Priority Of Use

       89.    In answering paragraph 89, Defendant denies Plaintiff’s claim that any of its

              marks are infringing of any marks of Plaintiff, and Defendant denies the

              allegations contained therein.

       90.    In answering paragraph 90, denies Plaintiff’s claim that any of its marks are

              infringing of any marks of Plaintiff, and Defendant denies the allegations

              contained therein.

       91.    In answering paragraph 91, Defendant denies Plaintiff’s claim that any of its

              marks are infringing of any marks of Plaintiff, and Defendant denies the

              allegations contained therein.

       92.    In answering paragraph 92, Defendant denies the allegations contained therein.

       93.    In answering paragraph 93, Defendant admits the allegations contained therein.

Parties' Marks Are Identical Or Very Similar

       94.    In answering paragraph 94, Defendant denies the allegations contained therein.

       95.    In answering paragraph 95, Defendant denies the allegations contained therein.

       96.    In answering paragraph 96, Defendant denies the allegations contained therein.

Parties' Goods And Services Are Identical Or Very Similar

       97.     In answering paragraph 97, Defendant denies the allegations contained therein.

       98.     In answering paragraph 98, Defendant admits the allegations contained therein




                                               11
     Case 1:24-cv-02535-ACR          Document 5       Filed 12/09/24      Page 12 of 21




Defendant's Use Of The Infringing PEBBLE Marks On Software Development Tools

      99.    In answering paragraph 99, Defendant denies Plaintiff’s claim that any of its

             documentation is infringing of any marks of Plaintiff, and admits the remaining

             allegations contained therein.

      100.   In answering paragraph 100, Defendant denies Plaintiff’s claim that any of its

             documentation is infringing of any marks of Plaintiff, and states that the

             document speaks for itself.

      101.   In answering paragraph 101, Defendant denies Plaintiff’s claim that any of its

             documentation is infringing of any marks of Plaintiff, and states that the

             document speaks for itself.

      102.   In answering paragraph 102, Defendant denies Plaintiff’s claim that any of its

             documentation is infringing of any marks of Plaintiff, and states that the

             document speaks for itself.

      103.   In answering paragraph 103, Defendant denies Plaintiff’s claim that any of its

             documentation is infringing of any marks of Plaintiff, and states that the

             document speaks for itself.

      104.   In answering paragraph 104, Defendant states that the document speaks for itself.

      105.   In answering paragraph 105, Defendant states that the document speaks for itself.

      106.   In answering paragraph 106, Defendant states that the document speaks for itself.

      107.   In answering paragraph 107, Defendant states that the document speaks for itself.

      108.   In answering paragraph 108, Defendant states that the document speaks for itself.

      109.   In answering paragraph 109, Defendant states that the document speaks for itself.

      110.   In answering paragraph 110, Defendant states that the document speaks for itself.

      111.   In answering paragraph 111, Defendant denies the allegations contained therein.

                                              12
      Case 1:24-cv-02535-ACR         Document 5       Filed 12/09/24      Page 13 of 21




Defendant's Use Of The Infringing PEBBLE Marks In Software For API

      112.   In answering paragraph 112, Defendant denies Plaintiff’s claim that any of its API

             is infringing of any marks of Plaintiff, and admits the remaining allegations

             contained therein.

      113.   In answering paragraph 113, Defendant denies Plaintiff’s claim that any of its API

             is infringing of any marks of Plaintiff, and Defendant denies the allegations

             contained therein.

Defendant's Use Of The Infringing PEBBLE Marks On Software Incorporating Use Of
Spreadsheets

      114.   In answering paragraph 114, Defendant denies Plaintiff’s claim that any of its

             marks is infringing of any marks of Plaintiff, and states that the document speaks

             for itself.

      115.   In answering paragraph 115, Defendant states that the document speaks for itself.

      116.   In answering paragraph 116, Defendant denies the allegations contained therein.

Defendant's Use Of The Infringing PEBBLE Marks On Ready-To-Run Software Functions Or
Modules

      117.   In answering paragraph 117, Defendant denies the allegations contained therein.

      118.   In answering paragraph 118, Defendant denies Plaintiff’s claim that any of its

             marks is infringing of any marks of Plaintiff, and states that the document speaks

             for itself.

      119.   In answering paragraph 119, Defendant denies Plaintiff’s claim that any of its

             marks is infringing of any marks of Plaintiff, and states that the document speaks

             for itself.

      120.   In answering paragraph 120, Defendant denies the allegations contained therein.




                                              13
      Case 1:24-cv-02535-ACR         Document 5       Filed 12/09/24      Page 14 of 21




Defendant's Use Of The Infringing PEBBLE Marks In Automation And Automated Testing

      121.   In answering paragraph 121, Defendant denies Plaintiff’s claim that any of its

             content is infringing of any marks of Plaintiff, and admits the remaining

             allegations contained therein.

      122.   In answering paragraph 122, Defendant states that the document speaks for itself.

      123.   In answering paragraph 123, Defendant states that the document speaks for itself.

      124.   In answering paragraph 124, Defendant denies the allegations contained therein.

      125.   In answering paragraph 125, Defendant denies the allegations contained therein.

Defendant's Statements In Its Trademark Application

      126.   In answering paragraph 126, Defendant denies the allegations contained therein.

      127.   In answering paragraph 127, Defendant admits the allegations contained therein.

      128.   In answering paragraph 128, Defendant admits the allegations contained therein

Parties' Channels Of Trade Are The Same

      129.   In answering paragraph 129, Defendant denies the allegations contained therein.

Parties' Consumers Are Also The Same

      130.   In answering paragraph 130, Defendant denies the allegations contained therein.

      131.   In answering paragraph 131, Defendant admits that it offers enterprise-level and

             network-deployable goods and services to consumers which include large or very

             large corporations, and states that it has insufficient knowledge or information to

             form a belief as to the remaining allegations contained therein, and therefore

             denies same.

Defendant's Knowing, Continued, And Deliberate Disregard of Plaintiff's Trademark
Rights

      132.   In answering paragraph 132, Defendant admits the allegations contained therein.


                                              14
   Case 1:24-cv-02535-ACR           Document 5       Filed 12/09/24    Page 15 of 21




    133.   In answering paragraph 133, Defendant denies the allegations contained therein.

    134.   In answering paragraph 134, Defendant denies the allegations contained therein.

    135.   In answering paragraph 135, Defendant denies the allegations contained therein.

    136.   In answering paragraph 136, Defendant denies the allegations contained therein.

    137.   In answering paragraph 137, Defendant denies the allegations contained therein.

    138.   In answering paragraph 138, Defendant denies the allegations contained therein.

    139.   In answering paragraph 139, Defendant denies that Plaintiff has ownership of the

           PEBBLES mark, and admits the remaining allegations contained therein.

    140.   In answering paragraph 140, Defendant denies Plaintiff’s claim that any of its

           marks is infringing of any marks of Plaintiff, and admits the remaining allegations

           contained therein.

    141.   In answering paragraph 141, Defendant denies the allegations contained therein.

    142.   In answering paragraph 142, Defendant denies the allegations contained therein.

    143.   In answering paragraph 143, Defendant denies the allegations contained therein.

    144.   In answering paragraph 144, Defendant denies the allegations contained therein.

                                   CLAIM I
(Federal Trademark Infringement — 15 U.S.C. § 1114(1) (Lanham Act 15 U.S.C. § 32(a))

    145.   In answering paragraph 145, Defendant repeats paragraphs 1 through 144 of this

           Answer as if fully set forth here.

    146.   In answering paragraph 146, Defendant denies the allegations contained therein.

    147.   In answering paragraph 147, Defendant denies the allegations contained therein.

    148.   In answering paragraph 148, Defendant admits the allegations contained therein.

    149.   In answering paragraph 149, Defendant denies the allegations contained therein.

    150.   In answering paragraph 150, Defendant denies the allegations contained therein.


                                                15
    Case 1:24-cv-02535-ACR           Document 5       Filed 12/09/24     Page 16 of 21




     151.   In answering paragraph 151, Defendant denies the allegations contained therein.

     152.   In answering paragraph 152, Defendant denies Plaintiff’s claim that any of its

            marks is infringing of any marks of Plaintiff, and admits the remaining allegations

            contained therein.

     153.   In answering paragraph 153, Defendant denies the allegations contained therein.

     154.   In answering paragraph 154, Defendant denies the allegations contained therein.

     155.   In answering paragraph 155, Defendant states that it has insufficient knowledge or

            information to form a belief as to the allegations contained therein, and therefore

            denies same.

     156.   In answering paragraph 156, Defendant denies the allegations contained therein.

     157.   In answering paragraph 157, Defendant denies the allegations contained therein.

     158.   In answering paragraph 158, Defendant denies the allegations contained therein.

     159.   In answering paragraph 159, Defendant denies the allegations contained therein.

     160.   In answering paragraph 160, Defendant denies the allegations contained therein.

     161.   In answering paragraph 161, Defendant denies the allegations contained therein.

     162.   In answering paragraph 162, Defendant denies the allegations contained therein.

     163.   In answering paragraph 163, Defendant denies the allegations contained therein.

     164.   In answering paragraph 164, Defendant denies the allegations contained therein.

     165.   In answering paragraph 165, Defendant denies the allegations contained therein.

                                      CLAIM II
(Unfair Competition and False Designation of Origin — 15 U.S.C. § 1125(a) [Lanham Act §
                                        43(a)])

     166.   In answering paragraph 166, Defendant repeats paragraphs 1 through 165 of this

            Answer as if fully set forth here.



                                                 16
Case 1:24-cv-02535-ACR           Document 5       Filed 12/09/24     Page 17 of 21




167.    In answering paragraph 167, Defendant states that it has insufficient knowledge or

        information to form a belief as to the allegations contained therein, and therefore

        denies same.

168.    In answering paragraph 168, Defendant states that it has insufficient knowledge or

        information to form a belief as to the allegations contained therein, and therefore

        denies same.

169.    In answering paragraph 169, Defendant states that it has insufficient knowledge or

        information to form a belief as to the allegations contained therein, and therefore

        denies same.

170.    In answering paragraph 170, Defendant states that it has insufficient knowledge or

        information to form a belief as to the allegations contained therein, and therefore

        denies same.

171.    In answering paragraph 171, Defendant admits the allegations contained therein.

172.    In answering paragraph 172, Defendant denies the allegations contained therein.

173.    In answering paragraph 173, Defendant denies the allegations contained therein.

174.    In answering paragraph 174, Defendant denies the allegations contained therein.

175.    In answering paragraph 175, Defendant denies the allegations contained therein.

176.    In answering paragraph 176, Defendant denies the allegations contained therein.

177.    In answering paragraph 177, Defendant denies the allegations contained therein.

178.    In answering paragraph 178, Defendant denies the allegations contained therein.

                             CLAIM III
       (Common Law Trademark Infringement and Unfair Competition)

179.    In answering paragraph 179, Defendant repeats paragraphs 1 through 178 of this

        Answer as if fully set forth here.


                                             17
Case 1:24-cv-02535-ACR          Document 5       Filed 12/09/24     Page 18 of 21




180.   In answering paragraph 180, Defendant states that it has insufficient knowledge or

       information to form a belief as to the allegations contained therein, and therefore

       denies same.

181.   In answering paragraph 181, Defendant states that it has insufficient knowledge or

       information to form a belief as to the allegations contained therein, and therefore

       denies same.

182.   In answering paragraph 182, Defendant admits the allegations contained therein.

183.   In answering paragraph 183, Defendant denies the allegations contained therein.

184.   In answering paragraph 184, Defendant denies the allegations contained therein.

185.   In answering paragraph 185, Defendant denies the allegations contained therein.

186.   In answering paragraph 186, Defendant denies the allegations contained therein.

187.   In answering paragraph 187, Defendant denies the allegations contained therein.

188.   In answering paragraph 188, Defendant denies the allegations contained therein.

189.   In answering paragraph 189, Defendant denies the allegations contained therein.

190.   In answering paragraph 190, Defendant denies the allegations contained therein.

                                 CLAIM IV
              (Declaratory Relief Pursuant To 28 U.S.C. § 2201)

191.   In answering paragraph 191, Defendant repeats paragraphs 1 through 190 of this

       Answer as if fully set forth here.

192.   In answering paragraph 192, Defendant denies the allegations contained therein.

193.   In answering paragraph 193, Defendant states that it has insufficient knowledge or

       information to form a belief as to the allegations contained therein, and therefore

       denies same.

194.   In answering paragraph 194, Defendant admits the allegations contained therein.


                                            18
      Case 1:24-cv-02535-ACR             Document 5       Filed 12/09/24      Page 19 of 21




       195.      In answering paragraph 195, Defendant states that it has insufficient knowledge or

                 information to form a belief as to the allegations contained therein, and therefore

                 denies same.

       196.      In answering paragraph 196, Defendant states that it has insufficient knowledge or

                 information to form a belief as to the allegations contained therein, and therefore

                 denies same.

       197.      In answering paragraph 197, Defendant states that it has insufficient knowledge or

                 information to form a belief as to the allegations contained therein, and therefore

                 denies same.

       198.      In answering paragraph 198, Defendant denies the allegations contained therein.

       199.      In answering paragraph 199, Defendant denies the allegations contained therein.

       200.      In answering paragraph 200, Defendant denies that Plaintiff has trademark rights

                 in the word PEBBLE, and states that it has insufficient knowledge or information

                 to form a belief as to the allegations contained therein, and therefore denies same.

       201.      In answering paragraph 201, Defendant denies the allegations contained therein.

       202.      In answering paragraph 202, Defendant denies the allegations contained therein.

       203.      In answering paragraph 203, Defendant denies the allegations contained therein.

          ALL NUMBERED PARAGRAPHS, AND “WHEREFORE” PARAGRAPHS

       To the extent not expressly admitted herein, each and every allegation in the Complaint is

hereby denied.




                                                  19
      Case 1:24-cv-02535-ACR   Document 5   Filed 12/09/24     Page 20 of 21




Dated: December 9, 2024            By: /s/ Catharine Luo
                                       Catharine Luo (D.C. Bar No. 1697958)
                                       DENTONS US LLP
                                       1900 K Street, NW
                                       Washington, DC 20006
                                       Telephone: (202) 496-7500
                                       Facsimile: (202) 496-7756
                                       catharine.luo@dentons.com

                                       Attorney for Defendant Georgetown Software
                                       House, Inc.




                                     20
      Case 1:24-cv-02535-ACR          Document 5       Filed 12/09/24     Page 21 of 21




                               CERTIFICATE OF SERVICE

       I hereby certify that on the 9th day of December 2024, I served a copy of the foregoing
upon the following via electronic and first class, postage pre-paid to the following:

    Dinesh Patel
    2118 Walsh Ave., Suite 240
    Santa Clara, CA 95050
    btcroot@gmail.com


                                                    /s/ Catharine Luo




                                               21
